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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

ROBERT WIRTZ, JR.,
Plaintiff,
V.
SHERIFF VIC REGALADO, et al.,

Defendants.

Case No. 18-cv-599- GK F-FHM

JOINT STIPULATION OF DISMISSAL

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Robert Wirtz, by and through his

attorney Kent Morlan, and Defendants, Board of County Commissioners of Tulsa County

(“BOCC”) and Sheriff Vic Regalado, in his official capacity, by and through their attorney, Mike

Shouse, jointly stipulate to the dismissal of all claims against the above named Defendants with

prejudice. This stipulation of dismissal with prejudice includes all matters in this proceeding

relating to Sheriff Vic Regalado and the BOCC, and their related entities, including, any of their

former and present officers, employees and/or agents. Each party shall bear its own costs and

attorneys’ fees.

Respectfully submitted,

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Tulsa OK, 74103

(918) 582-5544 | kent@morelaw.com
Attorney for Plaintiff Robert Wirtz

/s/ Mike Shouse

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CERTIFICATE OF ELECTRONIC NOTICE

I hereby certify that on September 24, 2020, I electronically transmitted the foregoing
document to the Clerk of the Court using the ECF System for filing and the following attorneys in
this case:

e Joel Wohlgemuth

e Jo Lynn Jeter

e Barret Powers

e Alfred Kent Morlan

/s/ Mike Shouse
Mike Shouse

